                             Case 5:23-cv-00316-JFL
                                                UNITEDDocument   1-2 Filed
                                                       STATES DISTRICT     01/25/23 Page 1 of 1
                                                                       COURT
                                                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                                          DESIGNATION FORM
                    (to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)

                                 133–38 Sanford Avenue, Unit 5B, Flushing, NY 11355
Address of Plaintiff: ______________________________________________________________________________________________
                               3926 Nazareth Pike, Suite 12-14 Bethlehem, PA 18020
Address of Defendant: ____________________________________________________________________________________________
                                                                            Ongoing
Place of Accident, Incident or Transaction: ___________________________________________________________________________


RELATED CASE, IF ANY:

Case Number: ______________________________                     Judge: _________________________________                     Date Terminated: ______________________

Civil cases are deemed related when Yes is answered to any of the following questions:

1.     Is this case related to property included in an earlier numbered suit pending or within one year                         Yes                    No
       previously terminated action in this court?

2.     Does this case involve the same issue of fact or grow out of the same transaction as a prior suit                        Yes                    No
       pending or within one year previously terminated action in this court?

3.     Does this case involve the validity or infringement of a patent already in suit or any earlier                           Yes                    No
       numbered case pending or within one year previously terminated action of this court?

4.     Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights                        Yes                    No
       case filed by the same individual?

I certify that, to my knowledge, the within case             is /      is not related to any case now pending or within one year previously terminated action in
this court except as noted above.
          01/25/2023
DATE: __________________________________                                /s/ Donald Benedetto_________                                          309199
                                                                                                                          ___________________________________
                                                                         Attorney-at-Law / Pro Se Plaintiff                                Attorney I.D. # (if applicable)


CIVIL: (Place a √ in one category only)

A.            Federal Question Cases:                                                      B.    Diversity Jurisdiction Cases:

      1.     Indemnity Contract, Marine Contract, and All Other Contracts                      1.    Insurance Contract and Other Contracts
      2.     FELA                                                                              2.    Airplane Personal Injury
      3.     Jones Act-Personal Injury                                                         3.    Assault, Defamation
      4.     Antitrust                                                                         4.    Marine Personal Injury
      5.     Patent                                                                            5.    Motor Vehicle Personal Injury
      6.     Labor-Management Relations                                                        6.    Other Personal Injury (Please specify): _____________________
      7.     Civil Rights                                                                      7.    Products Liability
      8.     Habeas Corpus                                                                     8.    Products Liability – Asbestos
      9.     Securities Act(s) Cases                                                           9.    All other Diversity Cases
      10.    Social Security Review Cases                                                             (Please specify): ____________________________________________
      11.    All other Federal Question Cases
                                                Lanham Act
              (Please specify): ____________________________________________



                                                                            ARBITRATION CERTIFICATION
                                                  (The effect of this certification is to remove the case from eligibility for arbitration.)

              Donald Benedetto
I, ____________________________________________, counsel of record or pro se plaintiff, do hereby certify:

     X Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
        exceed the sum of $150,000.00 exclusive of interest and costs:

           Relief other than monetary damages is sought.


          01/25/2023
DATE: __________________________________                             /s/DonaldBenedetto_________________                                       309199
                                                                                                                         ___________________________________
                                                                         Attorney-at-Law / Pro Se Plaintiff                               Attorney I.D. # (if applicable)

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

Civ. 609 (5/2018)
